Case 3:20-cr-00018-TAV-JEM Document 98 Filed 09/09/22 Page 1 of 13 PageID #: 345
Case 3:20-cr-00018-TAV-JEM Document 98 Filed 09/09/22 Page 2 of 13 PageID #: 346
Case 3:20-cr-00018-TAV-JEM Document 98 Filed 09/09/22 Page 3 of 13 PageID #: 347
Case 3:20-cr-00018-TAV-JEM Document 98 Filed 09/09/22 Page 4 of 13 PageID #: 348
Case 3:20-cr-00018-TAV-JEM Document 98 Filed 09/09/22 Page 5 of 13 PageID #: 349
Case 3:20-cr-00018-TAV-JEM Document 98 Filed 09/09/22 Page 6 of 13 PageID #: 350
Case 3:20-cr-00018-TAV-JEM Document 98 Filed 09/09/22 Page 7 of 13 PageID #: 351
Case 3:20-cr-00018-TAV-JEM Document 98 Filed 09/09/22 Page 8 of 13 PageID #: 352
Case 3:20-cr-00018-TAV-JEM Document 98 Filed 09/09/22 Page 9 of 13 PageID #: 353
Case 3:20-cr-00018-TAV-JEM Document 98 Filed 09/09/22 Page 10 of 13 PageID #: 354
Case 3:20-cr-00018-TAV-JEM Document 98 Filed 09/09/22 Page 11 of 13 PageID #: 355
Case 3:20-cr-00018-TAV-JEM Document 98 Filed 09/09/22 Page 12 of 13 PageID #: 356
    9/9/2022
                                        Tim                .   Oak
                                                                     Je




Case 3:20-cr-00018-TAV-JEM Document 98 Filed 09/09/22 Page 13 of 13 PageID #: 357
